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     RI3DJHWKH&RORQHOVWDWHV%HJLQQLQJLQODWH

     0DVVDFKXVHWWV6WDWH3ROLFH/LHXWHQDQW$ODQ

     =DQLSDUWLFLSDWHGLQUHYLHZVRIILUHDUPVVDOHV,V

     WKDWDFFXUDWH"

     $/HWPHUHDGWKLVRQHPRUHWLPH,

     SDUWLFLSDWHGLQILUHDUPVUHYLHZVVDOHV"7RD

     OLPLWHGH[WHQWWKDW
VSDUWLDOO\DFFXUDWH

     4:KDWZDVWKHH[WHQWRI\RXUUHYLHZRI

     ILUHDUPVVDOHV"

    $7KHUHZRXOGEHRFFDVLRQWKDW,ZRXOGKHDU

    RIDQ))/RUDIHGHUDOILUHDUPVOLFHQVHGGHDOHU

    VHOOLQJILUHDUPVWKDWZHUHQ
WRQWKHDSSURYHGURVWHU

    DQGRUJORFNVEHLQJVROGWRQRQODZHQIRUFHPHQW

    SHUVRQQHO)URPWKDW,ZRXOGEHSURYLGHGZLWKD

    VDPSOLQJRIWKHLUPRQWKO\VDOHVUHSRUWDQGFRXOG

    HLWKHUGLVFHUQIURPWKDWUHSRUWWKDWWKHUHSRUWZDV

    HLWKHUDFFXUDWHRULQDFFXUDWHDQGWKHQ,ZRXOG

    IRUZDUGWKHLQIRUPDWLRQ

    4$QXPEHURITXHVWLRQVDERXWWKDW:KHQ

    \RXVD\ILUHDUP\RX
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    0DVVDFKXVHWWVGHILQLWLRQZKLFKLVDKDQGJXQLVWKDW

    FRUUHFW"

    $,
PQRW7KHUHZRXOGEHORQJDUPVDQG

    ILUHDUPV/RQJDUPVDQGSLVWROVZRXOGEH



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